
PER CURIAM.
We affirm the order summarily denying Appellant’s motion for postconviction relief, seeking to vacate his conviction based on the alleged involuntariness of his plea. See Stretcher v. State, 803 So.2d 813 (Fla. 4th DCA 2001). As we did in Stretcher, we certify as a question of great public importance the same question certified in Major v. State, 790 So.2d 550, 552 (Fla. 3d DCA 2001):
WHETHER THE TRIAL COURT OR COUNSEL HAVE A DUTY TO ADVISE A DEFENDANT THAT HIS PLEA IN A PENDING CASE MAY HAVE SENTENCE ENHANCING CONSEQUENCES IF THE DEFENDANT COMMITS A NEW CRIME IN THE FUTURE?
FARMER, KLEIN and STEVENSON, JJ., concur.
